BEFORE RAYMOND J. DEARIE
UNITED STATES DISTRICT JUDGE

                   CRIMTNAT.CAUSE FOR STATUS CONFERENCE


                              JANUARY 25.2018
                           Time in Court:   20 minutes


DOCKET NUMBER: CR 17-647(RJD)

U.S.A. -V-   MAKSIM ZASLAVSKIY(ON BOND)
             COUNSEL: MILDRED WHALEN & LEN KAMDANG(LAS)

AUSA: JULIA NESTOR
PRE TRIAL OFFICER: JAYME ROSADO



COURT REPORTER: MICHELE LUCCHESE

X     CASE CALLED FOR STATUS CONFERENCE.
      DISCUSSION HELD.
      DEFENSE COUNSEL REQUESTS MOTION SCHEDULE BE SET.
      COUNSEL AGREE ON FOLLOWING BRIEFING SCHEDULE:
      DEFENSE MOTION DUE:        2/26/2018
      OPPOSITION DUE:            3/19/2018
      REPLY DUE:                 3/26/2018
      ORAL ARGUMENT:       4/12/2018 AT 12:00PM
      PARTIES ADVISE THAT THEY CONTINUE IN DISCOVERY & PLEA
      DISCUSSIONS AND JOINTLY REQUEST TIME BE EXCLUDED FOR THOSE
      REASONS AND IN THE INTEREST OF JUSTICE.
      COURT APPROVES REQUEST. TIME EXCLUDED FROM TODAY THROUGH
      4/12/2018.
      CASE ADJOURNED TO 4/12/2018 AT 12PM FOR ORAL ARGUMENT.
      DEFENSE COUNSEL REQUESTS A MODIFICATION OF DEFENDANTS'BAIL
      CONDITIONS TO ALLOW HIM TO TRAVEL TO PUERTO RICO FOR THE
      REASONS STATED ON THE RECORD.
      COURT: TRAVEL IS AUTHORIZED AS FOLLOWS: DEFENDANT WILL REPORT
      TO A PRE TRIAL OFFICER IN PUERTO RICO AS DIRECTED AND WILL SUBMIT
      A DETAILED ITINERARY TO E.D.N.Y. PRE TRIAL OFFICER ROSADO PRIOR TO
      HIS TRAVELS.                                             '
